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CRIMINAL INFORMATION SHEET

Date: 12/10/2020

Judge: _ MJ McCarthy Deputy: Tami Calico

USPO: Garrett Thomas ‘ MJ Cleary Stacy Turner
Interpreter: Yes ¥ No ¥ MJ Jayne Stephanie Cope
Case No. 20-CR-315-JED USA v. Latoya Lisa Dythe J Busty Q ross

 

Date of Arrest:__12/10/2020___ Arrested By: USMS

Detention Requested by AUSA

Bail Recommendation: $10,000.00 v¥ Unsecured

Additional Conditions of Release:

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k. 1. m. n. o.

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t (other)

Defendant Requests Federal Public Defender/Ct. Appt. Counsel: ¥ Yes No

Defendant's Attorney: Shannon mc Murr ars FPD; Ct. Appt; 1 Ret Counsel

AUSA: Edward Snow
MINUTES:

Interpreter:

.

; 1 Sworn

“Sh Qefendant appears in person for IA on: “&XIndictment, (Information; [ Complaint; C Petition; [Rule 5
with: ‘SRet Counsel; O FPD; O Ct. Appt; 0 w/o Counsel

OC) Financial Affidavit received and FPD/CJA appointed; [J Present 1) Not Present

Defendant’s name as reflected in the indictment/information/complaint/petition/Rule 5 is the true and correct legal name:

“Sl Verified in open court
0 Corrected by interlineation to

 

to reflect Defendant’s true and correct name and all previous filings are amended by interlineation to reflect same.
2 Unable to verify in open court: (J U.S. Atty. to verify & advise court; 1] Defendant’s Attorney to verify & advise court;

Waivers executed and filed: © of Indictment; 0) of Preliminary Exam; 0) of Detention Hearing; 0) of Rule 5 Hearings

YN Bond set for_$f lo ,OO° -O0

; Bond and conditions of release executed

©) Government’s Motion for Detention and Detention Hearing filed in open court

‘J Arraignment held and Defendant pleads Not Guilty; Court accepts plea; Scheduling dates to be mailed to counsel

(O Initial Appearance continued to:

 

© Arraignment scheduled:

 

© Detention Hearing scheduled:

 

O) Preliminary Exam scheduled:

at a.m./p.m.
at a.m./p.m.
at a.m./p.m.
at a.m./p,m.

 

0) Defendant remanded to custody of U.S. Marshal:

Mot. for Detention # ___: ~CJGranted; ©) Denied;
Additional Minutes:

OC Pending further proceeding; 0 Pending release on bond for treatment

Moot Mot. for Hearing#__: OGranted; 0 Denied; O Moot

 

 

Criminal Information Sheet

CR-24 (8/16)
